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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 VICKI TIMPA, INDIVIDUALLY, AND                  §
 AS REPRESENTATIVE OF THE                        §
 ESTATE OF ANTHONY TIMPA, et al.,                §
                                                 §
                       Plaintiffs,               §
                                                 §
 v.                                              §       CIVIL ACTION NO. 3:16-CV-3089-N
                                                 §
 DUSTIN DILLARD, et al.,                         §
                                                 §
                       Defendants.               §

        DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO LIFT STAY

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendants Dustin Dillard (“Dillard”), Danny Vasquez (“Vasquez”), Kevin Mansell

(“Mansell”), Raymond Dominguez (“Dominguez”) and Domingo Rivera (“Rivera”)(collectively,

“Defendants”), submit the following Response to Plaintiffs’ Motion to Lift Stay (“Motion to Lift

Stay”)(ECF No. 112). Defendants assert that Plaintiffs’ Motion to Lift Stay does not mandate the

lifting of stay entered by this Court on June 5, 2018 (ECF No. 111), in which the Court stayed this

entire action pending resolution of Dillard, Vasquez and Mansell’s parallel criminal proceedings.

In support of this Response, Defendants respectfully show the Court the following:

                                             I.
                                        BACKGROUND

       This is a civil rights action brought by Plaintiffs Vicki and Cheryll Timpa, individually and

as representative of the estate of Anthony Timpa (“Timpa”) and as next friend of K.T., a minor,

alleging claims pursuant to 42 U.S.C. § 1983 against Dallas Police Department Officers Dillard,

Vasquez, Mansell, Dominguez, and Rivera, Glenn Johnson, and the Criminal Investigative Unit,




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LLC (“CIU”).1 This case arises from the alleged use of excessive deadly force on August 10,

2016, while Timpa was in Defendants’ custody. See Plaintiffs’ Third Amended Complaint (ECF

Doc. No. 78), pp. 3-12. The Officers deny Plaintiffs’ claims, and each has filed an answer to

Plaintiffs’ allegations, affirmatively pleading, inter alia, his entitlement to the defense of qualified

immunity. See Court’s Docket, ECF Nos. 90, 91, 92, 93 and 94.

        Dillard, a Technical Sergeant and reservist in the United States Air Force Reserve, filed a

Motion to Stay Proceedings under the Servicemembers Civil Relief Act (“Dillard’s Motion to

Stay”). ECF Doc. Nos. 60, 61. Dillard had been recalled to active duty service overseas and was

deployed from July 16, 2017, to March 1, 2018. Id. The Court granted Dillard’s Motion to Stay

on October 4, 2017. ECF No. 79. Dillard was released from military active-duty status on March

1, 2018, and on March 12, 2018, the Court lifted the stay previously entered on account of Dillard’s

deployment. See Court’s Docket.

        While Dillard was deployed overseas, he, Vasquez, and Mansell were indicted by the

Dallas County Grand Jury on December 7, 2017, for deadly conduct arising out of the same events

that give rise to the instant civil case. See Appendix in Support of Defendants’ Motion to Stay this

Case (“Appendix in Support of Defendants’ Motion to Stay”). ECF No. 97-1, pp. 6-10. As a result

of these indictments, and the lifting of the initial stay on account of Dillard’s deployment, on March

16, 2018, Dillard, Vasquez, and Mansell filed a Motion to Stay this Case Pending Defendants’

Criminal Cases (“Defendants’ Motion to Stay”). ECF No. 97. On April 27, 2018, Plaintiffs filed

their Response to Motion to Stay by Defendants Dillard, Vasquez and Mansell Pending Their

Criminal Cases (“Plaintiffs’ Response to Defendants’ Motion to Stay”). ECF No. 108. On June




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   Defendants Johnson and CIU have not yet entered an appearance in this litigation. See Court’s Docket. On
September 14, 2017, the Clerk of the Court filed an Entry of Default as to Defendants Johnson and CIU in response
to a request by Plaintiffs. See ECF Nos. 68 and 69.

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5, 2018, the Court granted Defendants’ Motion to Stay “pending resolution of the Officers’ parallel

criminal proceedings.” ECF No. 111.

        Less than five (5) months later, on October 17, 2018, Plaintiffs filed the instant Motion to

Lift Stay. ECF No. 112. This motion is largely a “cut and paste” restatement of the arguments

made in Plaintiffs’ Response to Defendants’ Motion to Stay, arguments which have already been

rejected by the Court in its June 5, 2018 Order. The only “new” information provided in

connection with Plaintiffs’ Motion to Lift Stay is the attachment of a number of “Pass Slips” from

Dillard’s, Vasquez’s and Mansell’s respective criminal cases2. See ECF Nos. 112-2, 112-4, 112-

6. While these “Pass Slips” do show that a number of settings have been passed in the criminal

cases pending against Dillard, Vasquez, and Mansell, Plaintiffs have wholly failed to demonstrate

that these recent passes render the Court’s stay immoderate, and therefore, Plaintiffs’ Motion to

Lift Stay should be denied in its entirety.

                                                        II.

                                  ARGUMENT AND AUTHORITIES

        As before, Plaintiffs’ Motion to Lift Stay confirms Plaintiffs’ desire to proceed with

discovery in this case notwithstanding Defendants’ pending criminal cases that arise out of the

same events giving rise to this lawsuit. Defendants continue to request a stay of this case until

after the resolution of the criminal cases filed against them because it is undisputable that the

criminal cases currently pending in Dallas County arise from the same incident made the basis of

this lawsuit. Defendants continue to request the stay in this case in order to avoid the prejudice

that would occur to Defendants if both legal matters are allowed to proceed simultaneously.




2
 Interestingly, many of these “Pass Slips” existed prior to the untimely filing of Plaintiffs’ Response to Motion to
Stay, and it is unclear why Plaintiffs failed to make this argument back in April of 2018 in connection with their
Response to Defendants’ Motion to Stay. See ECF Nos. 112-2 pp. 1-2; 112-4, pp. 1-3; 112-6, pp. 1-3.

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A.      The Court Properly Applied the Legal Standards Governing Stays Involving Parallel
        Criminal Proceedings

        In its June 5, 2018, Order, the Court properly applied the six (6) factors in determining

whether to stay civil litigation pending resolution of a parallel criminal matter. These factors are:

(1) the extent to which the issues in the criminal case overlap with those presented in the civil case;

(2) the status of the criminal case, including whether the defendant has been indicted; (3) the

interests of the plaintiff in proceeding expeditiously, weighed against the prejudice to the plaintiff

caused by a delay; (4) the interests of and burden on the defendant; (5) the interests of the courts;

and (6) the public interest. See Court’s Order dated June 5, 2018, ECF Doc. No. 111, pp. 2, citing

SEC v. Stanford Int’l Bank, Ltd., No. 3:09-CV-298-N, 2010 WL 11492395, at *2 (N.D. Tex. Jan

5, 2010); see also Walker v. Wilburn, No. 3:13-CV-4896-D, 2015 WL 5873392, at *5–9 (N.D.

Tex. Oct. 5, 2015); Alcala v. Texas Webb County, 625 F.Supp.2d 391, 398-99 (S.D. Tex. 2009)

(citing numerous cases and discussing Trustees of Plumbers and Pipefitters Nat’l Pension Fund v.

Transworld Mech., Inc., 886 F. Supp. 1134 (S.D.N.Y. 1995)).

        Notably, one of the few key differences between Plaintiffs’ Response to Defendants’

Motion to Stay and the instant Motion to Lift Stay is the absence in the instant Motion to Lift Stay

of any mention of these six (6) factors. Compare Plaintiffs’ Response to Defendants’ Motion to

Stay, pp. 7-10, with Plaintiffs’ Motion to Lift Stay. If, in fact, Plaintiffs actually were in possession

of new information that somehow altered the calculus of the Court’s weight assigned to each of

these factors, then presumably this information would have been presented to the Court. However,

the inclusion of the “Pass Slip” argument mentioned above simply fails to move the needle or

otherwise alter the Court’s prior assignment of weight to the various factors, and thus, there is no

need to lift the stay previously entered by the Court.




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        For instance, Plaintiffs have failed to present any new evidence or arguments that would

affect the degree to which the issues in this civil case overlap with the criminal issues in the

criminal cases. This is the most significant and important consideration in considering whether to

grant the stay. See Walker, 2015 WL 5873392, at *6; Volmar Distribs., Inc. v. New York Post Co.,

152 F.R.D. 36, 39 (S.D.N.Y. 1993); quoting Parallel Civil and Criminal Proceedings, 129 F.R.D.

201, 203 (S.D.N.Y. 1989)(“The most important factor at the threshold is the degree to which the

civil issues overlap with the criminal issues.”). Whether or not Dillard, Vasquez and/or Mansell

have received passes in their criminal cases does not affect the overlap between the civil and

criminal cases at issue, and therefore, this first factor continues to weigh in favor of keeping the

stay in place.

        Likewise, any request for a pass, or continuance, in the criminal cases does not alter the

fact that Defendants Dillard, Vasquez and Mansell have all been indicted. As noted by the Court,

staying a civil case “is most appropriate when a party has been indicted for the conduct giving rise

to the civil case.” Court’s Order dated June 5, 2018, ECF No. 111, p. 3. Thus, this second factor

continues to weigh in favor of keeping the stay in place.

        Of the six (6) factors to be considered by the Court, the third factor (i.e., the interests of the

Plaintiffs in proceeding expeditiously, weighed against the prejudice to the plaintiff caused by a

delay) is the only factor which could possibly have been affected by the four and one-half months

that have elapsed between the time that the Court granted the current stay and the filing of

Plaintiffs’ Motion to Lift Stay. In June, the Court noted that “While Plaintiffs are interested in

promptly resolving claims and conducting discovery while information is still readily available,

they have not established that they will be prejudiced by a stay.” Id. Since this pronouncement

by the Court, and the granting of the stay in June of 2018, not much has changed other than the




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changing of the seasons from summer to fall. Therefore, this factor continues to weigh in favor of

keeping the current stay in place.

        Throughout Plaintiffs’ Motion to Lift Stay, Plaintiffs offer their own speculation as to what

might happen in the criminal cases. For instance, Plaintiffs surmise that the criminal cases will

continue to remain pending in the indefinite future and, therefore, prejudice Plaintiffs’ ability to

pursue their claims in this case. Plaintiffs also speculate about various criminal proceeding

matters, and even speculate (again, somewhat inconsistently) that the Dallas County District

Attorney’s Office may not pursue the criminal cases.3 Plaintiffs’ Motion to Lift Stay, p. 6.4

Plaintiffs’ speculation regarding how long it might take for the criminal cases to be resolved was

insufficient to show prejudice this summer, and it is likewise insufficient this fall. Plaintiffs must

establish more prejudice than simply a delay in their rights to expeditiously pursue their claims,

Alcala, 625 F.Supp.2d at 397, and since they have failed to do so, the Court should maintain the

current stay.

        As for the fourth, fifth and sixth factors, the passes in the criminal cases do not alter the

analysis previously undertaken by the Court. Defendants Dillard, Vasquez and Mansell are still

faced with a “conflict between asserting their Fifth Amendment rights and defending the civil

action.” See Order, dated June 5, 2018, ECF No. 111, p. 3. Also, because of the overlap between

the civil and criminal cases, the fact that judicial economy may be promoted by the streamlining

of common issues still remains. Id. at 4. Similarly, the overlap between the civil and criminal

cases places the public’s interest in resolution of civil disputes with minimal delay against the



3
  Since the filing of Plaintiffs’ Response to Defendants’ Motion to Lift Stay, a Dallas County jury convicted former
Balch Springs Police Officer Roy Oliver of murder and sentenced him to 15 years in prison, undercutting Plaintiffs’
argument.
4
  Without any supporting evidence, Plaintiffs’ Motion to Lift Stay, at 7, further asserts: “Though the City of Dallas
has embraced the three Defendants, a plea of guilt would decidedly spell the ruin for such protective custody.” There
is no showing of the relevance of this vague, confusing statement to the issues presented herein.

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public’s interests in maintaining criminal defendants’ rights. Thus, the fourth and fifth factors

continue to weigh in favor of maintaining a stay, and the sixth factor continues to weigh neither

for nor against a stay.

       In sum, the relevant factors continue to weigh in favor of continuing the stay previously

entered by the Court in this case. Plaintiffs, in their Motion to Lift Stay, have failed to produce

any evidence that would alter the Court’s analysis of the relevant factors examined by the Court

in its June 5, 2018, Order. Thus, Plaintiffs’ Motion to Lift Stay should be denied in its entirety.

B.     The Stay Entered by the Court is Not Immoderate.

       Contrary to Plaintiffs’ suggestions, the Court’s entry of the present stay is not immoderate

or otherwise improper. As previously noted, the current stay has only been in place for less than

five (5) months. In contrast, the Fifth Circuit, in Wehling v. Columbia Broadcasting System, 608

F.2d 1084 (5th Cir. 1979), instructed a district court on remand to stay a case for a period of more

than three years until the threat of criminal prosecution had passed. In so doing, the Fifth Circuit

noted that: “Although a three-year hiatus in the lawsuit is undesirable from the standpoint of both

the court and the defendant, permitting such inconvenience seems preferable at this point to

requiring plaintiff to choose between his silence and his lawsuit.” Id. at 1089.

       The arguments advanced by Plaintiffs in this case are similar to those advanced by Timpa’s

counsel in Walker, 2015 WL 5873392, at *5–9. In his 2015 opinion, Judge Fitzwater granted a

stay of the civil case in the face of parallel criminal and civil proceedings. In so doing, Judge

Fitzwater rejected the plaintiff’s contention that a stay should not be granted because Dallas

County criminal cases can sometimes be prolonged for several years, particularly when they

involve significant complexity and the defendant is not in custody. Id. at *7; citing Librado v.

M.S. Carriers, Inc., 2002 WL 31495988, at *2 (N.D. Tex. Nov. 5, 2002) (rejecting plaintiffs'

contention that the fact that “the criminal case against [defendant] is proceeding slowly and

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uncertainly, with no specific trial date,” weighs against a stay because “Texas law recognizes a

right to a speedy trial”).

        Although Judge Fitzwater ultimately ordered the lifting of the stay in Walker two and one-

half (2 1/2) years later in April of 2018 (as noted on pages 5-6 of Plaintiff’s Motion to Lift Stay),

the fact remains that a stay of two (2) to three (3) years to allow for a criminal proceeding to run

its course is well established, both by the Fifth Circuit and the district courts in the Northern

District of Texas. Thus, the current stay is not immoderate or in any way improper, and the Court

should therefore deny Plaintiffs’ Motion to Lift Stay and maintain the current stay until such time

as the factors weigh in favor of lifting the stay.

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiffs’ Motion to

Lift Stay be denied and that the Court continue to stay this case pending the resolution of the

criminal charges against Defendants Dillard, Vasquez, and Mansell, and Defendants request such

other and further relief, both general or special, at law or in equity, to which Defendants may be

justly entitled.

                                                Respectfully submitted,

                                                By:    /s/ Edwin P. Voss, Jr., with permission
                                                       Edwin P. Voss, Jr.
                                                       State Bar No. 20620300
                                                       evoss@bhlaw.net
                                                BROWN & HOFMEISTER, L.L.P.
                                                740 East Campbell Road, Suite 800
                                                Richardson, Texas 75081
                                                214-747-6100 (Telephone)
                                                214-747-6111 (Telecopier)
                                                COUNSEL FOR DEFENDANT DUSTIN DILLARD




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                                     By:    /s/ Mark E. Goldstucker, with permission
                                            Mark E. Goldstucker
                                            State Bar No. 08104100
                                            mgoldstucker@gmail.com
                                     LAW OFFICE OF MARK E. GOLDSTUCKER
                                     300 North Coit Road, Suite 1125
                                     Richardson, Texas 75080
                                     972-479-1112 (Telephone)
                                     972-479-1113 (Telecopier)
                                     COUNSEL FOR DEFENDANT KEVIN MANSELL

                                     By:    /s/ Gerald Bright
                                            Gerald Bright
                                            State Bar No. 02991720
                                            gerald.bright@wblpc.com
                                            David L. Craft
                                            State Bar No. 00790522
                                            david.craft@wblpc.com
                                     WALKER BRIGHT, P.C.
                                     100 N. Central Expressway, Suite 800
                                     Richardson, Texas 75080
                                     972-744-0192 (Telephone)
                                     972-744-0067 (Telecopier)
                                     COUNSEL FOR DEFENDANT DANNY VASQUEZ

                                     CITY ATTORNEY OF THE CITY OF DALLAS

                                     Christopher J. Caso
                                     Interim City Attorney

                                      /s/ Jason G. Schuette, with permission
                                     Jason G. Schuette
                                     Senior Assistant City Attorney
                                     Texas Bar No. 17827020
                                     jason.schuette@dallascityhall.com

                                     Tatia R. Wilson
                                     Senior Assistant City Attorney
                                     Texas State Bar No. 00795793
                                     Tatia.wilson@dallascityhall.com

                                     Jennifer C. Huggard
                                     Executive Assistant City Attorney
                                     Texas State Bar No. 00792998
                                     jenniferhuggard@dallascityhall.com




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                                           7DN Dallas City Hall
                                           1500 Marilla Street
                                           Dallas, Texas 75201
                                           Telephone: 214-670-3519
                                           Facsimile: 214-670-0622

                                           COUNSEL FOR DEFENDANTS RAYMOND
                                           DOMINGUEZ AND DOMINGO RIVERA


                              CERTIFICATE OF SERVICE

       A copy of the foregoing document was served electronically through the court’s ECF

system on all counsel of record on November 7, 2018.

                                                  /s/ Gerald Bright
                                                  Gerald Bright




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